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       United States Court of Appeals
                                     for the

                      Eleventh Circuit
IRA KLEIMAN, as the Personal Representative of the Estate of David Kleiman,

                                                                    Plaintiff/Appellant,

                                      – v. –

                            CRAIG WRIGHT,

                                                                  Defendant/Appellee.
                     _____________________________
            APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF FLORIDA
                       CASE NO: 9:18-cv-80176-BB
                            (Hon. Beth Bloom)

  APPELLANT’S SUPPLEMENTAL APPENDIX
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      TAB 829-135 – Exh. P727 – email chain ...................................................... 1

Exhibit to Supplemental Joint Notice of Filing Exhibits
      Filed December 17, 2021

      TAB 835-14 – Exh. P867 – email chain ...................................................... 10

TAB CS – Certificate of Service




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                         CERTIFICATE OF SERVICE
       I hereby certify that on February 16, 2023, a copy of the appendix was served
on all counsel of record via CM/ECF or in some other authorized manner for those
counsel or parties who are not authorized to receive electronic Notices of Electronic
Filing.



                                                    /s/ Devin (Velvel) Freedman
